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                                  CERTIFICATE OF SERVICE


  I, Christopher M. Placitella, hereby certify that I caused a copy of the foregoing Plaintiffs’
  Memorandum in Opposition to Defendant Johnson & Johnson and Johnson & Johnson
  Consumer Inc.’s Application for Injunctive Relief to be filed electronically via the court’s
  electronic filing system. The attorneys who are registered with the court’s electronic filing
  system may access these filings through the court’s system, and notices of these filings will be
  sent to these parties by operation of the court’s electronic filing system.




                                                               /s/Christopher M. Placitella
                                                               CHRISTOPHER M. PLACITELLA


  Dated: August 23, 2017
